Case 1:23-cv-00108-LMB-JFA Document 990 Filed 07/26/24 Page 1 of 4 PageID# 47622




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION



  UNITED STATES, et al.,

                 Plaintiff,                          No: 1:23-cv-00108-LMB-JFA

         v.

  GOOGLE LLC,

                 Defendant.


    NON-PARTY THE INTERPUBLIC GROUP OF COMPANIES, INC.’S MOTION TO
                                SEAL

         Pursuant to Local Civil Rule 5(C) and the Court’s Order of June 24, 2024 (ECF No. 871),

  non-party the Interpublic Group of Companies, Inc. (“IPG”) respectfully moves this Court to seal

  portions of IPG documents designated as Confidential pursuant to the Protective Order (ECF No.

  203) (PTX 1623 (Bates IPG-ADTECH_002361) and PTX 1654 (Bates IPG-ADTECH_000012))

  and federal agency advertiser documents containing IPG’s information (DTX 1176 (USPS-ADS-

  0000529112), DTX 1197 (USPS-ADS-0000529380), DTX 1222 (USPS-ADS-0000669680),

  DTX 1241(CMS-ADS-0000023248), DTX 1295 (USPS-ADS-0000899135), DTX 1296 (CMS-

  ADS-0000018746), DTX 1351 (USPS-ADS-0000623759), DTX 1452 (USPS-ADS-

  0000899149), DTX 1463 (USPS-ADS-0000902291), and Lim Exhibit F (UNDER SEAL)

  [excerpt of DTX 1547] (CMS-ADS-0001096610)) that Plaintiffs and Defendant in the above-

  referenced action have listed as trial exhibits.

         Consistent with the local rules and this Court’s Electronic Case Filing Policies and

  Procedures, undersigned counsel have filed the materials at issue using the sealed filing event on

  CM/ECF and hereby certify that they will serve a copy on the parties and deliver a copy
Case 1:23-cv-00108-LMB-JFA Document 990 Filed 07/26/24 Page 2 of 4 PageID# 47623




  to this Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

  set forth in the accompanying memorandum of law. A proposed order is attached for the Court’s

  convenience.
Case 1:23-cv-00108-LMB-JFA Document 990 Filed 07/26/24 Page 3 of 4 PageID# 47624




  Dated: July 26, 2024                            Respectfully submitted,
                                               /s/ Kellen S. Dwyer
                                               Kellen S. Dwyer, VSB No. 97625
                                                  Alston & Bird, LLP
                                                  950 F Street NW
                                                  Washington, DC 20004-1404
                                                  Telephone: (202) 239-3300
                                                  Facsimile: (202) 239-3333
                                                  Email: kellen.dwyer@alston.com
Case 1:23-cv-00108-LMB-JFA Document 990 Filed 07/26/24 Page 4 of 4 PageID# 47625




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



  UNITED STATES, et al.,

                Plaintiff,                          No: 1:23-cv-00108-LMB-JFA

         v.

  GOOGLE LLC,

                Defendant.


    [PROPOSED ORDER] GRANTING NON-PARTY THE INTERPUBLIC GROUP OF
                  COMPANIES, INC.’S MOTION TO SEAL

         Upon consideration of IPG’s motion to seal portions of trial exhibits parties have

  identified (Attachments A-L) and pursuant to Local Civil Rule 5, the Court hereby FINDS that

  the motion for sealing should be granted because the withheld documents and information were

  marked as Confidential by IPG, contain sensitive commercial information of IPG and / or

  contain personal information of IPG employees, and IPG has proposed narrowly tailored

  redactions.

         Accordingly, for good cause shown, it is hereby ORDERED that IPG’s motion to seal

  portions of Attachments A-L is GRANTED; and it is further ORDERED that only IPG’s

  proposed redacted versions of these documents shall be publicly disclosed at trial.



  IT IS SO ORDERED.

  ENTERED this ____ day of _______________ 2024.


  Alexandria, Virginia ______________________________DATE: _________________
                        Honorable John F. Anderson
                        United States Magistrate Judge
